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IN THE UNITED sTATEs DISTRICT cOURT 05 ' x `
FOR THE WESTERN DIsTRlCT oF TENNESSEE 454/v aj " 05
EAsTERN DIVISION ,;> /°/Y 5
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c ;C.f
KENNBTH RAY BRASHER, § /(“"'#’»`"
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Plaimiff, §
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vs. § No. 04-127l-T/An
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HENDERSON cOUNTY, er al., §
l
Defendants. §
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ORDER TO COMPLY WITH PLRA
ORDER ASSESSING FILING FEE
ORDER OF DISMISSAL
ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

PlaintiffKenneth Ray Brasher, an inmate confined at the Haywood County Jail(HCJ),
in Brownsville, Tennessee, Who Was formerly confined at the Henderson County Jail (HCJ)
in Lexington, Tennessee, has filed a complaint under 42 U.S.C. § 1983, along with motions
to proceed i_n m lm_up_e_r§ and for appointment of counsel. The Clerk of Court shall file

the case and record the defendants as Henderson Countyl and R. Duevill Lunsford.

 

1 Plaintiff named the Henderson County Jail as a defendant As the jail is not a suable entity, the Court
construes the complaint as naming the Henderson County as the defendant See generally Hafer v. Melo, 502 U.S. 21
(1991).

Thls document entered on the docket sheet in compliance
with Flu|e 58 and,‘ or 79 (a) FHCP on §M.Q_J_QS_ 5

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I. Assessment of Filing Fee

Under the Prison Litigation Reform Act of 1995 (PLRA), 28 U.S.C. § l915(b), all
prisoners bringing a civil action must pay the full filing fee of $lSO required by 28 U.S.C.
§ 1914(a). The i_n firm mgm statute, 28 U.S.C. § l915(a) merely provides the prisoner
the opportunity to make a "downpayrnent" of a partial filing fee and pay the remainder in
installments

Although plaintiff complied with the PLRA by submitting the proper information
from the Northwest Corrrectional Complex, he has notified the Clerk that he has been
transferred to the Haywood County Jail. Plaintiff must now submit a new in fo_rm_a_ r@pe_i_'i_s
affidavit and a prison trust fund account statement from the Haywood County Jail showing:

l) the average monthly deposits, and
2) the average monthly balance for the six months prior to submission of the complaint,
3) talil<;1 account balance when the complaint was Submitted.

Pursuant to 28 U.S.C. § 1915(b)(1), it is ORDERED that plaintiffs cooperate fully
with prison officials in carrying out this order. lt is ORDERED that within thirty (30) days
of the entry of this order each plaintiff properly complete and file both an i_n m MM
affidavit and a trust fund account statement showing the above amounts It is further
ORDERED that the trust fund officer at plaintiffs’ prison shall calculate a partial initial
filing fee equal to twenty percent of the greater of the average balance in or deposits to the

plaintiffs’ trust fund accounts for the six months immediately preceding the completion of

the affidavit When the accounts contain any funds, the trust fund officer shall collect them

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and pay them directly to the Clerk of Court. If the funds in any plaintiffs account are
insufficient to pay the full amount of the initial partial filing fee, the prison official is
instructed to withdraw all of the funds in that plaintiffs account and forward them to the
Clerk of Court. On each occasion that funds are subsequently credited to any plaintiffs
account the prison official shall immediately withdraw those funds and forward them to the
Clerk of Court, until the initial partial filing fee is paid in filll.

It is further ORDERED that after the initial partial filing fee is fully paid, the trust
hind officer shall withdraw from any plaintiffs account and pay to the Clerk of this Court
monthly payments equal to twenty percent (20%) of all deposits credited to that accounts
during the preceding month, but only when the amount in the account exceeds 810.00, until
the entire 5150.00 filing fee is paid. The three plaintiffs shall be jointly liable for the filing
fee, but no more than $150 shall be collected for this case.

Each time that the trust filnd officer makes a payment to the Court from either
account as required by this order, he shall print a copy of that prisoner's account statement
showing all activity in the account since the last payment under this order, and file it with
the Clerk along with the payment

All payments and account statements shall be sent to:

Clerl<, United States District Court, Western District of Tennessee, 262 Federal
Building, lll S. Highland Ave., Jackson, TN 38301

and shall clearly identify that plaintiffs name and the case number on the first page of this

order.

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If any plaintiff is transferred to a different prison or released, he is ORDERED to
notify the Court immediately of his change of address If still confined he shall provide the
officials at the new prison with a copy of this order.

lf any plaintiff fails to abide by these or any other requirement of this order, the Court
may impose appropriate sanctions, including a monetary fine, without any additional notice
or hearing by the Court,

The Clerk shall mail a copy of this order to the prison official in charge of prison trust
fund accounts at plaintiffs’ prison.

The obligation to pay this filing fee shall continue despite the immediate dismissal
of this case. 28 U.S.C. § 1915(e)(2). The Clerk shall not issue process or serve any papers
in this case.

II. Analysis of Plaintiffs’ Claims

The plaintiff sues Henderson County and Henderson County Sheriff` Lunsford
alleging that, while awaiting trial in Henderson County, he was placed in a cell with state’s
witnesses for his prosecution He alleges that he reported this to a j ailer, who replied that
there was no other place to house him. He alleges that the state’s Witnesses attacked him
later that day, hitting him in the face, head, and back. Plaintiff alleges that a jailer came and
moved him to the basement where work release inmates are housed. Brasher alleges that he
requested medical assistance but the jailer told him to lie down. He was later called to the

booking area to receive his insulin shot Where he asked to go to the hospital Plaintiff states

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that he was told to go back to the basement and lie down. Brasher alleges that he was unable
to exhaust his administrative remedies on these claims because he was taken back to the
Northwest Correctional Complex less than forty-eight hours later. He seeks one million
dollars compensation

A local governmental entity, such as a county, "is not vicariously liable under § 1983
for the constitutional torts of its agents: It is only liable when it can be fairly said that the
[county] itself is the wrongdoer." Collins v. City ofHarker Heights, Tex. , 503 U.S. 1 15, 121
(1992). See also Jett v. Dallas Indeoendent School District, 491 U.S. 701, 726-29
(l989)(discussing history of civil rights statutes and concluding that Congress plainly did
not intend to impose vicarious liability on counties, municipalities or other local
governmental bodies); Cigg of Cantonl Ohio v. Harris, 489 U.S. 378, 388 (l989)(rejecting
simple vicarious liability for municipalities under § 1983); City of St. Louis v. Praprotnik,
458 U.S. 112, 122 (1988)(interpreting rejection of` respondeat superior liability by __M_<Lell
v. Dept. of Soc. Serv., 436 U.S. 658, 691 (1978), as a command that “local governments
. . . should be held responsible when, and only when, their official policies cause their
employees to violate another person's constitutional rights"); Pembaur v. Cig; of Cincinnati,
475 U.S.469,480-81(l986)(same);S_temle__rv.CitofLm~en_g_e, 126 F.3d 856, 865 (6th Cir.
l997)(rejecting claims against city and county and holding that “in order to state a claim
against a city or a county under § 1983, a plaintiff must show that her injury was caused by

an unconstitutional 'policy' or 'custom' of the municipality", citing Pembaur).

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ln this case, it is clear from the complaint that plaintiff relies entirely on the fact that
he was confined in the county Jail as the basis for any claim that he suffered a violation of
civil rights. None of the facts alleged support an inference that the County maintains a
policy of` deliberate indifference to inmate safety or serious medical needs.

Furthermore, plaintiff fails to allege any affirmative act by Sherif`f Lunsford. When
a plaintiff completely fails to allege any action by a defendant, it necessarily “appears
beyond doubt that the plaintiff can prove no set of facts which would entitle him to relief.”
Sprujgte v. Walters, 753 F.2d 498, 500 (6th Cir. 1985). Moreover, there is no respondeat

superior liabilityunder § 1983. Monell, 436 U.S. at 691; Bellamy v. Bradley, 729 F.2d 416,

 

421 (6th Cir. 1984) (liability under § 1983 in a defendant’s personal capacity must be
predicated upon some showing of direct, active participation in the alleged misconduct). lt
is clear from the face of the complaint, even construed liberally under Haines v. Kerner, 404
U.S. 519 (1972), that plaintiff relies entirely on the supervisory position held by defendant
Lunsford at the HCJ as the sole basis for the claims against him.

Accordingly, this complaint seeks to assert claims which fail to state a claim upon
Which relief may be granted and is DISMISSED pursuant to 28 U.S.C. § 1915(e)(2)(B)(ii).
Plaintiff`s motion for the appointment of counsel is DENIED as moot due to the dismissal

of this case.

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lIl. Appeals Issues

The next issue to be addressed is whether plaintiffs should be allowed to appeal this
decision in forma pauperis Twenty-eight U.S.C. § l915(a)(3) provides that an appeal may
not be taken i_n fo_rma grow if the trial court certifies in writing that it is not taken in good
faith.

The good faith standard is an objective one. Coppedge v. United States, 369 U.S. 43 8,
445 (1962). An appeal is not taken in good faith if the issue presented is frivolous. Ld. The
same considerations that lead the Court to dismiss this case for failure to state a claim also
compel the conclusion that an appeal would be frivolous. lt is therefore CERTIFIED,
pursuant to 28 U.S.C. § 1915(a)(3), that any appeal in this matter by any plaintiff is not taken
in good faith and that plaintiff may not proceed on appeal ill m pa_u}m.

The final matter to be addressed is the assessment of a filing fee if any plaintiff
appeals the dismissal of this case. The United States Court of Appeals for the Sixth Circuit
has held that a certification that an appeal is not taken in good faith does not affect an
indigent prisoner plaintiffs ability to take advantage of the installment procedures contained
in § 1915(b). McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997). M
sets out specific procedures for implementing the PLRA. Theref`ore, the plaintiffs are
instructed that if they wish to take advantage of the installment procedures for paying the

appellate filing fee, they must comply with the procedures set out in McGore and § 19 15(b).

 

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F or analysis under 28 U.S.C. § 1915(g) of future filings, if any, by this plaintiff`, this

is the first dismissal in this district of one of his cases for failure to state a claim

IT Is so oRDERED this g Gy of May, 2005.

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§ JAMEs D. roDD
UNI D srATEs DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:04-CV-01271 Was distributed by fax, mail, or direct printing on
May 9, 2005 to the parties listed.

 

Kenneth Ray Brasher
410 vay 70 East
Brovvnsville, TN 38012

Honorable .l ames Todd
US DlSTRlCT COURT

